                     Case 23-01246-PDR               Doc 10       Filed 11/27/23         Page 1 of 16




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUDERDALE DIVISION
                                             www.flsb.uscourts.gov

    In re:                                                             Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                               Case No. 22-17842 (PDR)
                                                                       (Jointly Administered)
              Debtors. 1
                                                           /

    JOHN H. OWOC,

                        Plaintiff,

    v.

    VITAL PHARMACEUTICALS, INC., et al.,

                        Defendants.
                                                           /           Adv. Pro. No. 23-01246 (PDR)



    OBJECTION OF THE LIQUIDATING TRUST TO JOHN H. OWOC’S EMERGENCY
      MOTION FOR TEMPORARY RESTRAINING ORDER AND INCORPORATED
                         MEMORANDUM OF LAW
             The Liquidating Trust 2 in the above-captioned chapter 11 bankruptcy cases (the “Chapter

11 Cases”), by and through its undersigned counsel, hereby submit this objection (the “Objection”)

to John H. Owoc’s Emergency Motion for Temporary Restraining Order and Incorporated

Memorandum of Law [Adv. Dkt. 3 2] (the “Motion”) filed by John H. Owoc (“Mr. Owoc”) seeking



1
         The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
         tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii)
         JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
         Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales,
         Inc. (8019).
2
         Capitalized terms not defined herein shall have the meanings ascribed to them in the Plan (defined herein).
3
         For an avoidance of doubt, reference to “Adv. Dkt.” means the Adversary Proceeding (defined herein), Adv. Pro.
         No. 23-01246-(PDR).


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                Case 23-01246-PDR              Doc 10         Filed 11/27/23      Page 2 of 16




a temporary restraining order (the “TRO”) against the Liquidating Trustee to enjoin it from taking

certain actions related to Mr. Owoc’s Existing Equity Interests. In support of this Objection, the

Liquidating Trust respectfully states as follows:

                                    PRELIMINARY STATEMENT 4

         1.      This Motion is yet another attempt by Mr. Owoc to seek relief that this Court

already denied. It is not only procedurally deficient insofar as it a collateral attack on the now-

final, unappealable confirmed Plan, but is also void of any required evidentiary or legal support

for the relief requested.

         2.      First, the relief Owoc seeks, for the second time, is precluded by the Confirmation

Order.    The Court already overruled the Owoc Objection, which, like the Complaint filed

contemporaneously with this Motion, focuses on the Liquidating Trustee’s authority to cancel

Existing Equity Interests. No appeal of or motion for stay in connection with the Confirmation

Order was filed. As such, Mr. Owoc is now bound by the Confirmation Order, which is both final

and non-appealable.

         3.      Even if this Court is inclined to determine the Motion on the merits, the Motion is

devoid of any evidence in support of the relief requested therein and cannot satisfy the stringent

requirements for obtaining a temporary restraining order under Federal Rule of Civil Procedure

(“Rule”) 65. 5 For example, Mr. Owoc incorrectly analyzes the likelihood of success of the Appeal

on the merits, as opposed to the success of the allegations in the Complaint as required to obtain

injunctive relief in the Adversary Proceeding. In addition, the Eleventh Circuit requires that a

motion or suit for injunctive relief be based upon an actual cause of action, of which the Complaint



4
    Capitalized terms not defined in this Preliminary Statement have the meanings ascribed to them in this Objection.
5
    Federal Rule of Bankruptcy Procedure 7065 incorporates and makes Rule 65 applicable in adversary proceedings.



                                                        -2-
                 Case 23-01246-PDR               Doc 10          Filed 11/27/23       Page 3 of 16




and Motion are entirely devoid. Mr. Owoc also cannot demonstrate the requisite irreparable harm

needed to obtain injunctive relief. The only evidence in the record of harm to Mr. Owoc is the

$3.4 million tax liability this Court found may be incurred by him as a result of the Sale closing

and maintenance of VPX’s S-Corp status. [Dkt. 1951 at 26.] However, a temporary restraining

order is inappropriate where the alleged harm can be cured by monetary damages.

         4.       Ultimately, the Motion is an end run around the confirmed Plan and the provisions

contained therein. Mr. Owoc made no showing that the TRO is warranted here and cannot be

permitted to relitigate his objection to the Plan through the Complaint filed in this Adversary

Proceeding. Accordingly, the Motion should be denied.

                                                 BACKGROUND

    I.   The Memorandum Opinion and Issues on Appeal.

         5.       On July 11, 2023, the eve of the hearing on the sale for substantially all of the

Debtors’ assets, Mr. Owoc filed the motion [Dkt. 1627] (the “First S-Corp Motion”), which

requested a determination of whether (i) Vital Pharmaceutical, Inc.’s (“VPX”) tax status as a

Subchapter S Corporation (“S-Corp”) is property of the estate and (ii) the automatic stay bars

revocation of VPX’s S-Corp election under 26 U.S.C. § 1362(d)(1). 6 The First S-Corp Motion

sought an emergency hearing for the next day, asserting that “closing of the Sale Transaction set

for hearing on July 12, 2023, will have significant negative impact on John H. Owoc.” [Dkt.

1627 at 1 (emphasis added).] The urgency for the relief requested in the First S-Corp Motion was


6
     Mr. Owoc’s reply [Dkt. 1738] (the “Reply”) also makes clear that “[a]t issue [in the First S-Corp Motion] is Mr.
     Owoc’s right as the sole shareholder of VPX to revoke VPX’s S-Corp status . . . .” [Id. ¶ 4 (emphasis added).]
     At the hearing on the First S-Corp Motion, Mr. Owoc reiterated that he solely sought to revoke—rather than
     terminate—the S-Corp election. July 28, 2023 Hr’g Tr. at 114:23–115:3 (“We’re not asking you to bless a
     termination. -- bless a termination, or to determine whether Mr. Owoc can or can’t do something that might
     effectuate a termination, other than revocation? That’s correct, Judge.”). A true and correct copy of the referenced
     portion of the transcript is attached hereto as Exhibit A.




                                                           -3-
                Case 23-01246-PDR               Doc 10         Filed 11/27/23        Page 4 of 16




also emphasized by Mr. Owoc’s expert, who opined that “if the sale closes in accordance with its

terms while VPX is characterized as an S Corporation, all items of income and gain resulting from

the sale would be taxed to Mr. Owoc which may result in a tremendous adverse economic

consequence to him.” [Dkt. 1722-5 ¶ 2(a).]

        6.       The Court held a trial on July 28 and 29, 2023 in advance of the sale closing

scheduled for July 31, 2023. At the hearing on July 29, 2023, the Court found that, regardless of

whether VPX’s S-Corp status is property of the estate, in order to permit Mr. Owoc’s proposed

revocation, the Court would be required to, and declined to, compel VPX to sign and file a

statement of revocation and to file a “close the books” election. [See Order Denying, in Part, John

H. Owoc’s Emergency Motion for Confirmation the Automatic Stay Does Not Apply to Revocation

of Debtor’s Subchapter S Corporate Status, Dkt. 1746 (the “First S-Corp Order”).] On July 30,

2023, the eve of the closing of the Sale Transaction, the Court entered the First S-Corp Order

denying the motion to the extent it required the Court to compel VPX to file a statement of

revocation and file the “close the books” election. [See id.]

        7.       On October 6, 2023, the Court entered its Memorandum Opinion and Order

Denying John H. Owoc’s Emergency Motion for Confirmation the Automatic Stay Does Not Apply

to Revocation of Debtor’s Subchapter S Corporate Status Or, Alternatively, for Stay Relief [Dkt.

1951] (the “Memorandum Opinion”).                  As indicated in its title, the Memorandum Opinion

addressed the specific relief requested by Mr. Owoc—revocation, as opposed to termination,

which is provided for under 26 U.S.C. § 1362(d)(1). 7 Mr. Owoc appealed the Memorandum



7
    See In re Vital Pharm., et al., No. 22-17842-PDR, 2023 WL 6543190, at *1 (Bankr. S.D. Fla. Oct. 6, 2023). The
    Court also determined that, in addition to the procedural deficiency in requesting the injunctive relief, the “Court
    would certainly not order the officers and directors of Vital to breach their fiduciary duties by [forcing the
    company to revoke the S-Corp status].” Id. at *14.




                                                         -4-
                     Case 23-01246-PDR              Doc 10         Filed 11/27/23   Page 5 of 16




Opinion [Dkt. 2055] (the “Appeal”), which is currently pending in the United States District Court

for the Southern District of Florida (the “District Court”) under Case No. 23-62016.

              8.       No motion seeking a stay pending appeal was filed in connection with the Appeal.

    II.       Mr. Owoc was Denied Relief to Terminate VPX’s S-Corp Status.

              9.       On October 16, 2023, Mr. Owoc filed a second motion [Dkt. 2016] (the “Second

S-Corp Motion”) seeking relief from the automatic stay to now terminate, as opposed to revoke,

VPX’s S-Corp status under 26 U.S.C. § 1362(d)(2). At the hearing held on October 31, 2023, the

Court found that Mr. Owoc failed to establish any cause to lift the automatic stay. 8 The Court also

noted at the hearing that it would not deny the Second S-Corp Motion based on its findings and

legal conclusions in the Memorandum Opinion because the Memorandum Opinion solely

addressed the proposed revocation of VPX’s S-Corp status under section 1362(d)(1). 9 On

November 13, 2023, the Court entered the Order Denying John Owoc’s Expedited Motion for

Relief from the Automatic Stay [Dkt. 2266] (the “Second S-Corp Order”) that denied the Second

S-Corp Motion.

III.          The Relief Sought in the Motion and Complaint Were Already Adjudicated by this
              Court and Overruled by the Confirmation Order.

              10.      On September 1, 2023, the Debtors filed the Debtors’ Joint Plan of Liquidation,

[Dkt. 1875], which was later amended on September 14, [Dkt. 1901], and September 15 [Dkt.

1905] (the “Plan”), respectively. Each iteration of the Plan contained the same treatment of

Existing Equity Interests that provided, in relevant part, that “[t]he Liquidating Trustee shall

determine, in the Liquidating Trustee’s sole discretion, whether and when, to: (i) cancel and


8
          See Oct. 31, 2023 Hr’g Tr. at 30:2–10, 31:1–3, 36:19–21, 40:1–4. A true and correct copy of the referenced
          portions of the transcript is attached hereto as Exhibit B.
9
          See id. at 22:25–23:18, 23:24–24:19, 39:20–40:6.




                                                             -5-
              Case 23-01246-PDR          Doc 10        Filed 11/27/23   Page 6 of 16




extinguish the Existing Equity Interests; (ii) transfer Existing Equity Interests into the Liquidating

Trust; or (iii) provide other treatment for the Existing Equity Interests consistent with the terms of

this Plan and the Sale Order.” [Dkt. 1905 § IV.F.2.]

       11.     On October 19, 2023, Mr. Owoc filed the limited objection [Dkt. 2059] (the “Owoc

Objection”) to confirmation of the Plan. The Owoc Objection asserted, among other things, that

“Mr. Owoc also objects to the provisions under the Plan which assign the power to terminate equity

interests to the Plan Trustee. Plan § IV.F.2. Such power is not delegable and/or assignable.” [Id.

at 17 n.11.] No legal support was provided by Mr. Owoc in support of this conclusory assertion.

       12.     Though present at the confirmation hearing held by this Court on October 31, 2023,

Mr. Owoc chose not to prosecute his objection related to the Liquidating Trustee’s ability to

extinguish the Existing Equity Interests. He did, however, present argument to the Court on other

issues raised in the Owoc Objection, to which he resolved with the inclusion of certain modifying

and clarifying language contained in the Confirmation Order (defined below).

       13.     After considering the confirmation objections filed and those presented at the

hearing, the Court entered the Order (I) Approving on a Final Basis the Second Amended

Disclosure Statement for Debtors’ Second Amended Joint Plan of Liquidation, and (II) Confirming

the Debtors’ Second Amended Joint Plan of Liquidation [Dkt. 2258] (the “Confirmation Order”)

confirming the Plan. The Confirmation Order specifically states that “[t]he Owoc Objection and

all other objections (informal or otherwise), responses, statements, and comments in opposition to

the Plan, other than those withdrawn with prejudice in their entirety prior to the Confirmation

Hearing or otherwise resolved on the record of the Confirmation Hearing and/or herein, are

overruled for the reasons stated on the record, all of which are incorporated herein.” [Id. ¶ 3.]

Because Mr. Owoc failed to prosecute his objection to the Liquidating Trustee’s authority to cancel




                                                 -6-
                  Case 23-01246-PDR               Doc 10          Filed 11/27/23       Page 7 of 16




and/or extinguish the Existing Equity Interests, the Confirmation Order clearly overruled the

objection and precludes him from now raising the identical arguments.

          14.      On November 21, 2023, the confirmed Plan went effective (the “Effective Date”).

[Dkt. 2291.] Upon the occurrence of the Effective Date, the Liquidating Trustee was deemed

appointed to serve as the trustee and administrator of the Liquidating Trust established pursuant to

the Plan. [Dkt. 1905 § VI.H.]

IV.       The Complaint and Motion are Legally and Factually Unsupported.

          15.      On November 20, 2023, Mr. Owoc filed the Complaint for Declaratory Relief

[Adv. Dkt. 1] (the “Complaint”) against the Debtors initiating Adversary Proceeding No. 23-

01246-PDR (the “Adversary Proceeding”). The Complaint alleges one cause of action for

declaratory judgment to enjoin the Liquidating Trustee from exercising its authority and discretion

pursuant to the confirmed Plan to cancel Mr. Owoc’s shares in VPX . [Id. ¶¶ 20–23.]

          16.      Mr. Owoc concomitantly filed the Motion seeking an emergency hearing on

November 22, 2023 10 and a temporary restraining order prohibiting the Liquidating Trustee from

exercising its Court-approved authority and discretion to cancel and/or extinguish the Existing

Equity Interests. [Adv. Dkt. 2 at 1–2.] The Motion asserts that, if the Liquidating Trustee takes

such action, then: (i) VPX will argue that the Appeal is now mooted; and (ii) mootness of the

Appeal will cause substantial and irreparable harm to Mr. Owoc. 11 [Adv. Dkt. at 1.]



10
      The Motion improperly requested a hearing within two business days pursuant to Local Rule 9013-1(F), which
      addresses certain chapter 11 motions seeking interim and final relief that are typically filed immediately following
      the commencement of a chapter 11 case. See Local Rule 9013-1(F); see also Fed. R. Bankr. P. 6003.
11
     Though not addressed in the Motion, the proposed order requests waiver of the requirement for Mr. Owoc to post
     security if granted the TRO pursuant to Rule 65(c). [Adv. Dkt. 2-1 ¶ 3.] The Liquidating Trust opposes any
     waiver of the requirements under Rule 65(c) to post security. The proposed order also fails to comply with the
     requirements of Rule 65(d), which sets forth the content and scope of every temporary restraining order. See Fed.
     R. Civ. P. 65(d).




                                                            -7-
                      Case 23-01246-PDR              Doc 10         Filed 11/27/23      Page 8 of 16




                                                      ARGUMENT

     I.       The Motion Should be Denied as it is Procedurally Deficient.

              17.      The Motion is replete with conclusory statements and speculation, yet lacks any

affidavit, declaration, or certification to demonstrate, for example, what harm there is to Mr. Owoc

if the TRO is not granted and how that purported harm would be irreparable. 12 The arguments of

counsel are not a substitute for the record evidence needed to grant injunctive relief. See, e.g.,

United States v. Lopez, 590 F.3d 1238, 1256 (11th Cir. 2009) (“[S]tatements and arguments of

counsel are not evidence . . . .”).

              18.      On this basis alone, the Court should deny the Motion.

 II.          The Motion is a Collateral Attack on the Confirmation Order and Plan and Must be
              Denied.

              19.      While the Motion attempts to intertwine the issues of the Appeal with the TRO

request, the Complaint asserts one cause of action based on the alleged controversy over whether

the Liquidating Trustee has the authority and discretion to cancel the Existing Equity Interests—

specifically Mr. Owoc’s shares in VPX. Mr. Owoc is barred from questioning the authority

granted to the Liquidating Trustee because such request is a collateral attack on the confirmed Plan

and is explicitly precluded by the Confirmation Order and Plan.

              20.      The relief sought in the Motion (and the underlying Complaint) is barred by

collateral estoppel. A confirmation order satisfies “the requirements of a judgment that can be

given [preclusive] effect.” Finova Cap. Corp. v. Larson Pharmacy Inc. (In re Optical Techs.,



12
          Likewise, there is no support for the exigent circumstances described in the Motion as any “exigency” is of Mr.
          Owoc’s own creation: (1) the Liquidating Trustee’s proposed authority under the Plan in connection with the
          Existing Equity Interests treatment provision was on this Court’s docket as of September 1, over two months ago;
          (2) the Owoc Objection provided zero legal or factual support to challenge the proposed authority; (3) Mr. Owoc
          failed to prosecute his challenge/objection to the Plan provision; (4) the Confirmation Order overruled the Owoc
          Objection; (5) no appeal of the Confirmation Order was taken; and (6) no motion for stay pending appeal was
          filed in this Court or the District Court.



                                                              -8-
              Case 23-01246-PDR          Doc 10        Filed 11/27/23   Page 9 of 16




Inc.), 425 F.3d 1294, 1300 (11th Cir. 2005) (quoting Wallis v. Justice Oaks II, Ltd. (In re Justice

Oaks II, Ltd.), 898 F.2d 1544, 1549 (11th Cir. 1990)). The Eleventh Circuit has explained the

court “must establish whether any or all of those claims were actually made, or could have been

made, in their objection to confirmation” in order to determine whether to preclude a plaintiff from

litigating claims advanced in an adversary proceeding. Justice Oaks II, Ltd., 898 F.2d at 1552

(citations omitted); see also Optical Techs., Inc., 425 F.3d at 1301 (“[A]ppellants cannot raise

objections to the actual terms of the [confirmed plan] or the confirmation order, as these were

deemed waived when they failed to object to confirmation.”).

       21.     Collateral estoppel bars relitigation of issues previously dealt with in a proceeding

if the party invoking the doctrine establishes that “(1) the issue in the pending case is identical to

that decided in a prior proceeding; (2) the issue was necessarily decided in the prior proceeding;

(3) the party to be estopped was a party or was adequately represented by a party in the prior

proceeding; and (4) the precluded issue was actually litigated in the prior proceeding.” United

States v. Weiss, 467 F.3d 1300, 1308 (11th Cir. 2006) (citation omitted).

       22.     The exact same issue that forms the basis for the Motion was already raised by Mr.

Owoc in his objection to confirmation of the Plan, which he failed to prosecute and was

subsequently overruled. The Court necessarily decided that the confirmed Plan complied with

sections 1129(a) and 1123(a) of the Bankruptcy Code, which, among other things, require a plan

to designate classes of claims and interests and specify treatment of each impaired class. 11 U.S.C.

§ 1123(a)(1), (3); [see Dkt. 2258 ¶¶ P, R, 7–8, 15.] Facts relating to these criteria are put at issue

by the confirmation process. See Kaiser Aerospace and Elecs. Corp. v. Teledyne Indus., Inc. (In

re Piper Aircraft Corp.), 244 F.3d 1289, 1299 (11th Cir. 2001). It is indisputable that Mr. Owoc




                                                 -9-
              Case 23-01246-PDR          Doc 10     Filed 11/27/23     Page 10 of 16




was a party in interest to Plan confirmation and actually litigated his objections through the Owoc

Objection and oral argument at the confirmation hearing.

       23.     Accordingly, the Court’s prior determination that the Liquidating Trustee has

authority and discretion to cancel and/or extinguish Existing Equity Interests should be given

preclusive effect. [See Dkt. 2258; Dkt. 1905 § IV.F.2.]

       24.     For the foregoing reasons, the Court should bar Mr. Owoc from collaterally

attacking the Confirmation Order and confirmed Plan and deny the Motion.

III.   The Motion Fails to Meet the Stringent Standard for Injunctive Relief Under Rule 65
       and Must Be Denied.

       25.     Even if this Court is inclined to consider the actual merits of the Motion, the absence

of evidence paired with the failure to meet the requirements to obtain injunctive relief under Rule

65 necessitate denial of the Motion.

       26.     “First, any motion or suit for either a preliminary injunction must be based upon a

cause of action” and matters set forth in the complaint. Alabama v. U.S. Army Corps of Eng’rs,

424 F.3d 1117, 1127 (11th Cir. 2005). “There is no such thing as a suit for a traditional injunction

in the abstract,” and a plaintiff must articulate a basis for relief that would withstand the scrutiny

under Rule 12(b)(6). Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1097 (11th Cir. 2004). An

injunction is a “remedy potentially available only after a plaintiff can make a showing that some

independent legal right is being infringed—if the plaintiff’s rights have not been violated, he is not

entitled to any relief, injunctive or otherwise.” Id. at 1098.

       27.     The Motion fails as it is not based on any actual cause of action and seeks injunctive

relief based on the Complaint’s sole cause of action for declaratory judgment. [See Adv. Dkt. ¶¶

20–23.] Mr. Owoc has also failed to demonstrate that he has a legal right that has been violated.




                                                 -10-
                 Case 23-01246-PDR             Doc 10      Filed 11/27/23        Page 11 of 16




The Motion is devoid of any case law supporting why the relief requested therein is appropriate

here and should be denied.

           28.    A preliminary injunction is an extraordinary and drastic remedy that is not

warranted here. See United States v. Jefferson Cnty., 720 F.2d 1511, 1519 (11th Cir. 1983) (citing

Canal Auth. v. Callaway, 489 F.2d 567, 573 (5th Cir. 1974)) (stating the movant must clearly carry

the burden of persuasion for each requirement for a preliminary injunction to be granted). Under

Rule 65, the movant seeking an injunction must show that “(1) it has a substantial likelihood of

success on the merits; (2) it will suffer irreparable harm if the court does not issue an injunction;

(3) the irreparable harm outweighs whatever damages the injunction may cause the opposing party;

and (4) the injunction would not be adverse to the public interest.” Vital Pharms., Inc. v. Owoc

(In re Vital Pharms., Inc.), No. 23-1051-PDR, 2023 WL 3689540 at *4 (Bankr. S.D. Fla. May 26,

2023) (citing Norwegian Cruise Line Holdings Ltd. v. State Surgeon Gen., Fla. Dep't of Health,

50 F.4th 1126, 1134–35 (11th Cir. 2022)). The party seeking injunctive relief carries the burden

of persuasion on all four factors. Id. (citing FF Cosmetics FL, Inc. v. City of Miami Beach, 866

F.3d 1290, 1298 (11th Cir. 2017)).

           29.    For the reasons set forth below, the Motion fails to satisfy any of the four required

factors.

                  A. Mr. Owoc’s Likelihood of Success on the Merits of the Complaint is
                     Nonexistent.

           30.    The Motion misapplies the “substantial likelihood of success on the merits”

analysis and makes conclusory assertions regarding the merits of the Appeal, to which there is no

binding authority from this jurisdiction. 13 Here, Mr. Owoc needs to demonstrate that he has a


13
     On a motion for stay pending appeal, which is not the relief Mr. Owoc is seeking here, the analogous necessary
     factor the movant must demonstrate is “that the movant is likely to prevail on the merits of its appeal.” In re
     Sanders, 544 B.R. 463, 467 (Bankr. S.D. Fla. 2016) (emphasis added) (citations omitted).



                                                       -11-
                 Case 23-01246-PDR               Doc 10        Filed 11/27/23         Page 12 of 16




substantial likelihood of succeeding on the cause of action in Complaint—which he failed to do

and cannot show based on the failure of the Complaint to assert an actual cause of action. 14

         31.       “[A]n injunction is not a standalone cause of action; it is a remedy for which there

must be an underlying cause of action entitling the plaintiff to such relief.” Lanzone ex. rel. One

Way Roofing, LLC v. Boggs, No. 18-80399-CIV-MIDDLEBROOKS, 2018 WL 11436537, at *2

(S.D. Fla. June 13, 2018) (citing Alabama, 424 F.3d at 1127); Klay, 376 F.3d at 1097 (“There is

no such thing as a suit for a traditional injunction in the abstract.”). Like an injunction, a TRO is

a remedy potentially available only upon a “showing that some independent legal right is being

infringed . . . .” Klay, 376 F.3d at 1098.

         32.       Injunctive relief may not be granted unless the plaintiff establishes the substantial

likelihood of success on the merits. See Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1226

(11th Cir. 2005) (“Controlling precedent is clear that injunctive relief may not be granted unless




14
     The Complaint is also barred by the doctrine of res judicata, which requires:


                   [T]he prior judgment must be valid in that it was rendered by a court of competent
                   jurisdiction and in accordance with the requirements of due process . . . the
                   judgment must be final and on the merits . . . there must be identity of both parties
                   or their privies . . . [and] the later proceeding must involve the same cause of
                   action as involved in the earlier proceeding.


     Justice Oaks II, Ltd., 898 F.2d at 1550 (internal citations omitted). Here, all of the required factors are satisfied.
     First, the Confirmation Order is final and nonappealable and, as such, is res judicata to the parties and those in
     privity with them. See Iberiabank v. Geisen (In re FFS Data, Inc.), 776 F.3d 1299, 1306 (11th Cir. 2015) (“A
     bankruptcy court’s confirmation order that is final and no longer subject to appeal becomes ‘res judicata to the
     parties and those in privity with them.’” (citations omitted)). Likewise, the Plan, which was incorporated into the
     Confirmation Order, has the same res judicata effect. [See Dkt. 2258 ¶ 2]; FFS Data, Inc., 776 F.3d at 1306 (“A
     reorganization plan that is incorporated into a confirmation order has the same res judicata effect.” (citing Optical
     Techs., Inc., 425 F.3d at 1300)). Second, Mr. Owoc was a party in interest to Plan confirmation as he filed the
     Owoc Objection, which contested the proposed delegation of authority to the Liquidating Trustee to cancel and/or
     extinguish Existing Equity Interests. [See Dkt. 2059 at 17 n.11.] As of the Effective Date, the Liquidating Trust
     was deemed to be substituted as the party in lieu of the Debtors in all matters. [Dkt. 2115, Ex. A § 2.2.] Finally,
     the one cause of action asserted in the Complaint disputes the identical issue raised in the Owoc Objection. [See
     Adv. Dkt. 1 ¶ 21.]



                                                           -12-
             Case 23-01246-PDR           Doc 10     Filed 11/27/23     Page 13 of 16




the plaintiff establishes the substantial likelihood of success criterion.”) (citations omitted); see

Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc); see also Grupo Mexicano de

Desarrollo v. All. Bond Fund, Inc., 527 U.S. 308, 340 (1999) (Ginsburg, J., dissenting) (“Plaintiffs

with questionable claims would not meet the likelihood of success criterion.”).

       33.     Here, the Complaint cannot survive a motion to dismiss because the sole claim

improperly asserts a claim for declaratory judgment that the Liquidating Trustee cannot exercise

the authority this Court granted it under the Plan and Confirmation Order. [See Adv. Dkt. 1 ¶¶

20–23.] Irrespective of how it is styled, the Complaint’s singular focus is on enjoining the

Liquidating Trustee from cancelling Mr. Owoc’s shares in VPX, which Mr. Owoc concedes the

Liquidating Trustee is empowered to do under the now-final Confirmation Order.

       34.      Given that the Complaint and Motion fail to explain how Mr. Owoc is going to

overcome the Confirmation Order—which he failed to appeal or seek a stay of—there is no chance,

let alone a substantial likelihood, that the Complaint will succeed on the merits. It follows that the

Motion should be denied on this factor alone as it is a requirement to obtain injunctive relief. See

Schiavo, 403 F.3d at 1226.

               B. The Motion Fails to Demonstrate Any Harm to Mr. Owoc, and to the
                  Extent Money Damages are Tangentially Asserted, a TRO is Not
                  Appropriate.

       35.     The Motion fails to demonstrate any harm to Mr. Owoc, let alone an irreparable

harm. An injunction is limited to prospective relief. See Dombrowski v. Pfister, 380 U.S. 479,

485 (1965) (“[I]njunctive relief looks to the future.”). Indeed, preventing irreparable harm in the

future is “the sine qua non of injunctive relief.” Ne. Fla. Chapter of Ass’n of Gen. Contractors of

Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990) (quoting Frejlach v. Butler, 573

F.2d 1026, 1027 (8th Cir. 1978)).




                                                -13-
               Case 23-01246-PDR        Doc 10     Filed 11/27/23      Page 14 of 16




         36.    Here, Mr. Owoc improperly speculates that if the Liquidating Trustee cancels his

shares, then VPX will contend that the Appeal is moot. This of course assumes that, regardless of

what action the Liquidating Trustee does or does not take, the Appeal is not already moot, as the

underlying relief sought by Mr. Owoc in connection with VPX’s S-Corp status was, by Mr.

Owoc’s (who asserted that “closing of the Sale Transaction set for hearing on July 12, 2023, will

have significant negative impact on John H. Owoc”) and his expert’s own admission (who opined

that “if the sale closes in accordance with its terms while VPX is characterized as an S Corporation,

all items of income and gain resulting from the sale would be taxed to Mr. Owoc which may result

in a tremendous adverse economic consequence to him”), time-sensitive and needed to be

adjudicated before the closing of the Sale on July 31, 2023. [See Dkt. 1627 at 1; Dkt. 1722-5 ¶

2(a).]

         37.     Even if the Court examined the past harm to Mr. Owoc in connection with the

Appeal, the Motion fails to demonstrate with any particularity what the resulting damage would

be to Mr. Owoc. At its core, the Appeal relates to the $3.4 million tax liability that this Court

previously determined was the harm to Mr. Owoc in connection with the relief sought in the First

S-Corp Motion. Vital Pharms., Inc., 2023 WL 6543190 at *11–*12. However, if the $3.4 million

tax liability is the alleged harm, the Motion still fails because money damages are not enough to

be considered irreparable. See Sampson v. Murray, 415 U.S. 61, 90 (1974). Put differently, “an

injury is ‘irreparable’ only if it cannot be undone through monetary remedies.” Ne. Fla. Chapter

of Ass’n of Gen. Contractors of Am., 896 F.2d at 1285; see Jarro v. United States, 835 F. Supp.

625, 630 (S.D. Fla. 1992).

         38.    Based upon the foregoing, Mr. Owoc cannot demonstrate the required irreparable

harm, and therefore, a temporary restraining order is not appropriate.




                                                -14-
              Case 23-01246-PDR          Doc 10       Filed 11/27/23     Page 15 of 16




               C. Any Threatened Injury Asserted in the Motion is Illusory and is
                  Outweighed by the Harm of Restricting the Liquidating Trustee.

       39.     Because the Motion fails to show irreparable harm, it likewise cannot demonstrate

that any purported harm outweighs the damages that a TRO restricting the Liquidating Trustee’s

authority would cause. Issuance of a TRO enjoining the Liquidating Trustee would only require

further litigation by the Liquidating Trustee in connection with the Complaint and would frustrate

the post-confirmation process. This can only serve to impair the Liquidating Trustee from carrying

out its duties to administer the Liquidating Trust.

               D. The Requested Relief is Detrimental to the Public Interest.

       40.     The Motion provides neither facts nor legal authority demonstrating that the entry

of the TRO will not disserve or be adverse to the public interest. In fact, the one case cited by Mr.

Owoc supports denying injunctive relief. See Kapila v. Clark (In re Trafford Distrib. Ctr., Inc.),

414 B.R. 849, 857 (Bankr. S.D. Fla. 2009). In Trafford, this Court granted the chapter 7 trustee’s

request for a permanent injunction after finding, among other things, the public interest would be

benefitted by enjoining the defendants from collecting on assets of the estate. Id. at 856.

Restricting the Liquidating Trustee’s authority within the first week of its appointment will

needlessly delay the distribution of funds to the hundreds of Debtors’ creditors, who collectively

are owed over one billion dollars. Any delay to the Liquidating Trustee’s administration of the

Liquidating Trust Assets will only serve to cause the Liquidating Trust to incur unnecessary costs,

further limiting what is available to be distributed to creditors. The Motion requests relief that is

undoubtedly adverse to the public interest, and as such, fails to satisfy this factor.

                                          CONCLUSION

       41.     The Motion is fatally flawed as it is (i) procedurally deficient, (ii) precluded by

collateral estoppel, (iii) seeking relief that is improperly pled as a cause of action in the Complaint,



                                                 -15-
             Case 23-01246-PDR          Doc 10     Filed 11/27/23     Page 16 of 16




and (iv) requesting relief to which Mr. Owoc is not entitled to as a matter of law as he cannot meet

the stringent standard for the TRO under Rule 65. For the reasons set forth above, the Motion

should be denied.

       WHEREFORE, the Liquidating Trust respectfully requests that the Court deny the

Motion. The Liquidating Trust reserves its right to modify or supplement this Objection as

necessary and appropriate.

       Dated: November 27, 2023                        LOWENSTEIN SANDLER LLP
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